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EXHIBIT 1
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3
IN THE UNITED STATES DISTRICT COURT 1 INDEX
2 WITNESS: GARY WAYNE BIGGS, SR.
FOR THE DISTRICT GF MASSACHUSETTS 4 INDEX OF EXAMINATIONS
4
IN RE: NEURONTIN MARKETING, SALES )CASE NO. PagelLine
PRACTICES AND PRODUCTS LIABILITY )04-10881 5 on
Examination by Mr. Evans 06 04
LITIGATION } 6 Examination by Mr. Soh 59 11
Examination by Mr. Evans 73 05
} 7 ~~ Certificate 75 01
Errata Sheet 76 01
} 8
9
THIS DOCUMENT RELATES TO: ) INDEX OF EXHIBITS
} 10
No. 1 15 417
RUTH SMITH, individually andas )05-CV-11515 11. No.2 7 06
’ No. 3 29 07
Widow for the use and benefit of |} 12 No.4 . 46 17
No. 5 46 17
herself and the next of kin of =} 13. No.6 51 08
Richard Smith, deceased. } 14 No.7 84 05
) 15
16
VIDEOTAPED DEPOSITION OF; iF
18
GARY WAYNE BIGGS, SR. 19
20
Taken on behalf of the Defendant 4
22
February &, 2008 23
24
25
4
1 APPEARANCES: 4 The videotaped deposition of GARY WAYNE :
2 2 ~~ -BIGGS, SR., taken on behalf of the Defendant,
For the Plaintiff:
4 3 soon the 8th day of February, 2008, in the
KENNETH 8. SOH, ESQUIRE 4 offices of Medical Forensics, 850 R.S, Gass
4 Lanier Law Firm
6810 F.M. 1960 West 5 Boulevard, Nashville, Tennessee, 37216, for ali
5 Houston, Texas 77069 6 purposes under the Federal Rules of Civil
(713) 659-5200 7 ~~ ‘Procedure.
6 713)659-2204 “i / ,
kss@lanierlawfirm.com a The farmalities as to notice, caption,
7 g certificate, et cetera, are waived. All
8 For the Defendant: 10 objections, except as to the form of the
9 CEDRIC E. EVANS . .
Clark, Thomas & Winters 11. questions, ara reserved to the hearing.
10 = P.O. Box 1148 12 It is agreed that Deborah J. Harris, being
300 Wast 6th Street, 15th Floor 13. a Notary Public and Court Reporter for the
11 Austin, Texas 78701 .
(512) 472-8800 14 State of Tennessee, may swear the witness, and
4200 (642) 474-4129 15 that the reading and signing of the completed
13 coe@ctw.com 16 deposition by the witness are reserved.
14 ~~ Also Present: Amanda Martin, Videographer 17
15 , 18.
16
47 19
4a 20 wee
18 a1
20
21 22
22 23
23 24
24
95 25
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7
1 PROCEEDINGS 1 A Once.
2 THE VIDEOGRAPHER: Here begins 2 Q Once. Okay. And how long ago was
3 Volume 1, Videotape No. 1, in the 3. that?
4 deposition of Gary Biggs, in the manner of 4 A Back in "88.
5 Neurontin Marketing and Sales Practices 5 Q_ And what were the circumstances of
6 versus Pfizer Incorporated, in the United 6 that deposition?
7 States District Court for the District of 7 A It was personal.
8 Massachusetts. 8 Q = So this is the first deposition that
9 The Case No. is 04-10981. Today's data is 9 = you've given related to your activities as a
10 the 8th of February, 2008. The time on the 10~—s forensic investigator?
1i video monitor is 9:07. The video operator 11 A Yes, Sir.
12 today is Amanda Martin of Vowell & Jennings, 12 Q Just --
13 Nashville, Tennessee. This video deposition is 13 A Oh, | take that back. | did give
14 taking place at 650 RS Gass Boulevard, 14 another deposition on a accidental death suit
15 Nashville, Tennessee. 15 back in ‘98.
16 Counsel, please identify yourselves and 16 @ Was that in your capacity as a
47 state whom you represent. 17 ~— forensic investigator?
18 MR. EVANS: Cedric Evans represanting 18 A Y@S, Sir,
19 Pfizer. 19 QQ And where were you working at the
20 MR, SOH: Kenneth Sot for the 20 time?
21 Plaintiffs. ai A Forensic Medical.
22 THE VIDEOGRAPHER: The court reporter 22 QQ The same company that you work for
23 today is Deborah Harris of Vowell & 23° now?
24 Jannings. Would tha reporter please swear 24 A (Nos head.)
25 in the witness. 25 Q Yes?
8
1 GARY WAYNE BIGGS, SR., 1 A Yes.
2 _was called as a witness, and after having been 2 Q Allright, Let me just remind you of
3 first duly sworn, testified as follows: 3 some of the ground rules to the deposition that
4 EXAMINATION 4 make it go a bit more smoothly.
5 BY MR. EVANS: § As you can see, the court reporter is
6 Q Mr, Biggs, can you state your name 6 — taking down everything that's said in the
7 for the record, please? 7 room + my questions, your answers, any
8 A Gary Wayne Biggs. 8 = questions or comments by Mr. Soh.
g Q Okay. Well, my name is Cedric Evans. 9 It is important, therefore, that, because
70 = You and | have met previously. And we are here 10 she's trying to take down everything that's
11 today to take your deposition in a case 11s said, that you always make Sure you answer
12 involving a claim by the family of a gentleman 12 = questions audibly, you know, either a yes or
13° named Richard Smith related to his May 13, 2004 13. no, or a narrative response if that's what the
14 suicide. 14 question calls for, and avoid just shaking your
16 And it's our understanding that you have 15 head up and down or side to side. It's okay to
16 had a role in the investigation of Mr. Smith's 16 = do that if you're going to also answer audibly.
17 ~— suicide, so we are interested in talking with 17 Also, sometimes in normal conversation you
18° you about your activities as it relates to 18 anticipate whera a question is going and we
19 investigating Mr. Smith’s suicide. , 19 start to answer before someone actually
20 Do you understand that? 20 finishes the question.
21 A Yes, sir. 21 While that's great in normal conversation,
22 Q Okay. Have you ever given a 22 __ it's not so great in a deposition setting. So
23 ~— deposition before? 23—sif you could just make sure that you let the
24 A Yes. 24 question get out before you start answering and
25 Q Approximately how many times? 25 ~~ then, you know, we'll alga let you get a
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17 19

1 MR. EVANS: Wait a minuie. Let's do 1 it's clear that in terms of the things that are

2 this. You're actually looking now -- let 2 in red, it's the dispatch phone number and

3 me go ahead and Jet me do this right here. ° 3. time. You also have —

4 Let me mark a copy of these notes as 4 A Location.

5 deposition Exhibit No. 2. 5 Q > -- the 1443 Janie Avenue also in red?

6 {EXHIBIT NO. 2 WAS MARKED FOR 6 A And the officer at the scene.

7 IDENTIFICATION.) a Q = Okay. And that is --

& BY MR. EVANS: a A Well, no. It's off of Murray and

3 Q Okay. Can you — let's do this then. 9 McGavock Pike.

10 Can you walk us through kind of what we're 10 Q Okay. So those are the cross streets

11 looking at when we look at the notes from the 11. for the address?

12. top going down? 12 A Yes, sir.

43 A Sure. At the very top — | guess it 13 Q Okay. And everything else — so

14 would be the carner. 14 those are notes that you made when you got the
15 Q Tha top right comer? 15. call. Everything else that is in black are

16 A Yeah, there you go. 16 notes that you would have made at the scene?
7 Q@ Okay. 17 A At the scene.

18 A it says 6628510, dash 6510. That's 18 Q Okay.

19 = dispatch's number. And they could page me at 19 A Or when | got back.
20) 9=65:53 that moming. Over here it says 04-1575, 20 Q. Orwhen you got back. Are you able
21 J assigned it a case number. 21 ~~ te distinguish batween the notes that you made
22 Q Okay. So you assign the case number? 22 ~~ at the scene and the notes you made when you
23. Yes? 23° got back?
24 A Yes. 26 A Pretty much | can tell by my wnting
25 Q Okay. 25 most of my notes were done at the scene. The

18 20

1 A Sorry. 41 case number, since it's in blue, it was

2 Q That's all right. 2 probably when ! got back.

3 A Of course the decedent's name, his 3 Q Okay. You can keep working.

4 age. 4 A Allright. So we've gat the

5 Q Okay. 5 decedent's name, Richard H. Smith. He was at
6 A I didn't write his race and sex. | 6 1443 Janie Avenue in Inglewood, 37216 Zip code.
7 normally write that down. | didn’t write that 7 ~The Compiaint No. 04-240830, that's the Metro
8 down. 8 Police complaint number. And if you look about
9 Q Tell me something. Just the — 9 =~ midway down the page on the left-hand side.
1G the ~ the name and the age -- and is that the 410 Q_ Right.
11 date of birth, that 1/47 11 A It says, 0545 --

12 A Yes. 412 Q Yes.

13 Q Was it 1/4/20 — 13 A —MPD. That's what time they got
14 A 25. 14 the call.
15 Q 25. Is that information that you got 15 Q_ And is that information — who do you

16 before you arrived at the scene or is that 16 = gat that information from?

17 — information you got at the scene? 7 A Either dispatch or the detactive on

18 A Since ya’li have copies, you can't 418 = the scene.

18 see the differance in color. When I tock the 19 Q Okay.
20 initial call, it was in red, And then! had a 20 A And back to the top of the page on
2% black pen. So that's when | got out to the 21 the lefi-hand side, you see 738, 1998 below it?
22 scene | had a different pen. 22 = ‘That's the code for leaving the scene. So
23 Q_ Okay. 23 that’s the time | teft that scene, 736.
24 A So you can see my initial notes. 24 Q Okay.
25 Q Weil, let's just far the record, so 25 A Below that says 640, 1097. That's

 

 

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44 43

1 @ How do you know that? 1 as opposed to this needs to be more in depth,
2 A Even though | didn’t sign it, | know 2 when you talk about the report of the County

3 sit because the computer generates my name as 3. Medical Examiner.

4 Gary Biggs. | go in there and manually change 4 Q = Sois the thought that the report of

5 it to Gary W. Biggs, Sr. 5 the County Medical Examiner was going to end up
6 MR. SOH: You are OCD. 6 ~~ with the family?

7 A I never lie. At least | try not to. 7 A lf they request it.

8 (COURT REPORTER ASKS EVERYONE TO 8 Q So you're more ~ a littie bit more

9 SPEAK UP.) 9 selective about the information that you put in
10 {DISCUSSION WAS HAD OFF THE RECORD} 10 ~~ there?

11. BY MR. EVANS: 1 A Yes, sir,

12 Q = Okay. Let's talk now about the scene 12 Q Allright. | want to --

13 investigation report which is also part of your 13 A Thus, it's totally different from

14 ~~ file, correct? 14 aw

15 A Yas, sir. 15 Q_ | wanted to ask you a few questions

16 Q Okay. Tell me how the scene — this 16 about some of the information that is contained
17 ~— is a document that's created by you? 17 ‘in the scene investigation report.

18 A Yes, sir. 18 You mentioned that you — you also took

19 Q = Okay. Tell me when in the process of 19 photographs of the scene, correct?

20 ~—s-your investigation this document would have 20 A Yas, sir,

21 been created. 21 Q Okay. Do you look at the - tell me

22 A When | get back to the office. 22 ~~ this: When you're completing the scene

23 Q So it would have been created that 23> description, in that part of the scene

24° morning? 24 investigation report, do you also review your
25 A More than likely. | would have ta 25 photographs to assist you with that?

42 44

1 check the computer. But | believe it was. 1 A Several times, yes, sir.

2 Q And is this -- in the terms of the 2 Q Okay.

3 scene description, is this like the narrative 3 A But not all the time. But a Jot of

4 summary, where it’s created based upon your 4 times.

5 notes and also Dased upon your memory of the 5 Q@ Qkay. Do you have a recollection of

6 scene? 6 ~~ whether or not you would have reviewed the

7 A Yes, sir. And this is usually an ¥ photographs for this?

8 internal document that is not released out to 8 A I don't know.

9 the family. So it can't — it won't — like | 9 Q {know that's a while ago.

10 said, that day | was here for a while. Sol 10 A We download the photographs into the
11. would have done that that day. But there are 11. computer system, so | have them right there, so
12 occasions that we do them like that night when 12. | can lock at them a lot.

13. we return or later. 13 Q@ Now you have — you've got a copy of
14 Q Now, car you tell mé this, because 14 you -- of the photographs that you took in

15 this — this scene description appears to have 15 ~~ frant of you?

16 more information than the narrative summary. 16 A Yes, sir.

17 ~— Is there a reason for that? 7 Q@_ All right. Now what I'm interested

18 A The narrative summary you don't put 18 ~~ in is in the scene description, coming dawn

19 all the informatian in there. This is more for 19 ~~ kind of toward the -- toward the end of that

20 ‘the doctors to read, to give them more of the 20 last paragraph, it says, what appeared to be --
21 story. 21.9 do you see that part?

22 You don't want to -- | personaily do not 22 A Yes, sir.

23s want the family to remember certain aspects of 23 Q = Qkay. What appeared to be several
24 ‘the scene, so i’m nat gaing to put that in 24 prescriptions on the dresser were noted. Wait
25 there, because it needs to be more generalized, 25 aminute. I'm sorry. Let me read it.

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45 a
4 What appeared to be several prescriptions 1 A Yes, sir.
2  onadresser were noted. The victim appeared 2 Allright.
3. to have been prescribed Hydrocodane, 3 A Sorry.
4 — cyclobenzaprine, and Neurontin, 4 QQ Are you able to tell me from iooking
5 Do you see that? 5 at these photographs which pill bottle the
6 A Yes, sir. 6 Neurontin was contained in?
v Q Okay. In terms of this information, 7 A The one that says courtesy refills,
& would this have been based upon your 8 Eckerd on top, the big one.
9 —abservations of the bedroom? 9 Q > Okay. The big one that's --
10 A Well, yes. But we also collect the 10 A Right there.
11° medication at the scene. 11 Q_ -- kind of in the cantar of — next
12 Q Okay. Allright. And if, for 12 to the cell phone?
13. example - and | assume that if -- we're going 13 A |t was between the cei! phone and the
14 to look at the photographs in a second. But! 14. watch.
16 assume if you saw — you know, you could see a 18 Q So to the nght of the cell phone.
16 pill bottle that, you know, contained 16 ~All right.
17 = medication and a pill bottle that did not 17 And how is it that you know that that's
18 = contain medication? 18 the bottle that contained Neurontin?
19 A Yes, sir. 19 A Because you can see it on the pill
20 Qf you had a pill bottle, even though 20 bottle.
21 ~~ on the outside it said that it was, for 21 MR, SOH; You can see it on the what?
22 ~~ example, hydrocodone, if it didn't contain any 22 A You can see it on the pill bottle. |
23s medication, would you note on your scene 23° see Neurontin ail the time and plus | was
24 ~~ description that there was hydrocodone at the 24 prescribed it in the past.
25 = scene? 25 +BY MR. EVANS:
46 48
1 A | would still put that the pill 1 Q Okay. Allright. So it's your
2 bottle was there. 2 belief that bottle contains tha Neurontin, tha
3 Q Okay. 3. big pill bottle?
4 A But! would more than likely note 4 A Yas, sir,
5 thatit was empty. 5 Q@ Okay. Are you - are you -- is that
6 Q Okay. All right. Now, looking at 6 — something that you're certain of?
7 the photographs — and I've got a version of 7 A I'm pretty sure of that because it
8 = photographs that actually has the number -- the € looks like you can see the writing right there
9 numbers that were assigned that was part of the 9 on the capsule, Gabapentin, Neurontin.
10 file. And | have the 04-1575-01. Yours may — 10 MR. SGH: Can | see your copy?
11 A That's fine. 41 MR. EVANS: His is a little clearer.
12 Q_ -- they may be a litte clearer than 12 THE WITNESS: And here's another one
13° mine. And | want to look first at 43 that you can see. Do you see what I'm
14 photographs 6 and 14. And i'm going to mark as 14 talking about?
15 deposition Exhibit No, 4 photograph 6, and 45 MR, SOH: No.
16 deposition Exhibit No. 5 photograph 14. 16 THE WITNESS: Trust me on these
17 (EXHIBIT NOS, 4 AND 5 WERE MARKED FOR 7 pills.
18 IDENTIFICATION.} 18 MR. SOH: Okay. That's all right.
19 BY MR. EVANS: 19 That's all right.
20 @ Now, looking at these two 20 THE WITNESS: All right.
21 ~~ photographs, there are a number of -- well, 21 BY MR. EVANS:
22 ~~ fair to say there are a number of medication 22 Q And can you tell me -- you said
22 ~—scbattles on the dresser? 23 > something about the collection of medications
24 A Uh-huh. 24 ~=atthe scene.
25 GQ Yes? 25 Are you able to tell me one way or the

 

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